















	


IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NOS. WR-79,118-01 and WR-79,118-02






KENNETH WAYNE JEROME, Relator


v.


HARRIS COUNTY DISTRICT CLERK, Respondent






ON APPLICATIONS FOR WRITS OF MANDAMUS

CAUSE NO. 1233728 IN THE 263RD DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed motions for leave to file writs of mandamus pursuant to the original
jurisdiction of this Court. He contends that he filed an application for a writ of habeas corpus in the
263rd District Court of Harris County, that more than 35 days have elapsed, and that the application
has not yet been forwarded to this Court. To support his claim, he attaches a copy of a certified mail
return receipt, dated December 31, 2012, that was addressed to the Harris County District Clerk and
that was signed by Arthur Simpson.

	In these circumstances, additional facts are needed. Respondent, the District Clerk of Harris
County, is ordered to file a response, which may be made by submitting the record on such habeas
corpus application, submitting a copy of a timely filed order which designates issues to be
investigated (see McCree v. Hampton, 824 S.W.2d 578, 579 (Tex. Crim. App. 1992)), or stating that
Relator has not filed an application for a writ of habeas corpus in Harris County. Should the response
include an order designating issues, proof of the date the district attorney's office was served with
the habeas application shall also be submitted with the response. This application for leave to file
a writ of mandamus shall be held in abeyance until Respondent has submitted the appropriate
response. Such response shall be submitted within 30 days of the date of this order.



Filed: March 20, 2013

Do not publish	


